            Case 2:20-cv-01182-JCC-JRC Document 17 Filed 09/25/20 Page 1 of 4




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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 9

10      HELENE SOLOMON,
                                                              CASE NO. 2:20-cv-01182-JCC-JRC
11                              Plaintiff,
                                                              ORDER SETTING TRIAL DATE
12              v.                                            AND PRETRIAL SCHEDULE
13      HOLLAND AMERICA LINE INC., et al.,

14                              Defendants.

15

16          This matter is before the Court on the parties’ joint status report. See Dkt. 16. Having

17   considered the parties’ report, the Court schedules this case for an eight-day jury trial on

18   October 25, 2021, at 9:30 a.m., before the Honorable John C. Coughenour, Courtroom

19   16206 with the following pretrial schedule:

20                                     Event                                           Date

21      Deadline for joining additional parties                                  January 1, 2021

22      Deadline for amending pleadings                                          January 8, 2021

23      Plaintiff’s expert disclosures under Fed. R. Civ. P. 26(a)(2)           February 1, 2021

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     ORDER SETTING TRIAL DATE AND PRETRIAL
     SCHEDULE - 1
            Case 2:20-cv-01182-JCC-JRC Document 17 Filed 09/25/20 Page 2 of 4




 1      Defendant’s expert disclosures under Fed. R. Civ. P. 26(a)(2)           February 15, 2021

 2      Rebuttal expert disclosures                                               March 1, 2021

 3       All motions related to discovery must be noted on the motion calendar no later than the
                Friday before discovery closes pursuant to LCR 7(d) and LCR 37(a)(2)
 4      Discovery completed by                                                 May 1, 2021

 5      All dispositive motions must be filed by (see LCR 7(d))                   May 31, 2021

 6      Settlement Conference per LCR 39.1(c)(2) held no later than               June 30, 2021

 7      All motions in limine must be filed by this date and noted on the      September 10, 2021
        motion calendar and noted on the motions calendar in
 8      accordance with LCR 7(d)(4).

 9      Motions in limine raised in trial briefs will not be considered.
        Agreed LCR 16.1 Pretrial Order due                                     September 24, 2021
10
        Trial briefs, proposed voir dire, jury instructions and exhibits by     October 18, 2021
11

12          This order sets firm dates that can be changed only by order of the Court, not by
13   agreement of counsel for the parties. The Court will alter these dates only upon good cause
14   shown. Failure to complete discovery within the time allowed is not recognized as good cause.
15   If any of the dates identified in this Order or the Local Civil Rules fall on a weekend or federal
16   holiday, the act or event shall be performed on the next business day.
17          If the trial dates assigned to this matter creates an irreconcilable conflict, counsel must
18   notify Deputy Clerk Kelly Miller at Kelly_miller@wawd.uscourts.gov, within 10 days of the
19   date of this Order and must set forth the exact nature of the conflict. A failure to do so will be
20   deemed a waiver. Counsel must be prepared to begin trial on the date scheduled, but it should be
21   understood that the trial may have to await the completion of other cases.
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     ORDER SETTING TRIAL DATE AND PRETRIAL
     SCHEDULE - 2
            Case 2:20-cv-01182-JCC-JRC Document 17 Filed 09/25/20 Page 3 of 4




 1                                              Trial Procedures

 2           1.      Jury Instructions. Jury instructions should be numbered sequentially. Counsel

 3   should submit two copies of proposed jury instructions, one with citations and one without, and

 4   should send electronic copies of the instructions to the chambers orders inbox at

 5   coughenourorders@wawd.uscourts.gov. Counsel is advised that the Court relies primarily on the

 6   Ninth Circuit Manual of Model Jury instructions, available at

 7   http://www3.ce9.uscourts.gov/jury-instructions/model-civil. The Court will rarely, if ever,

 8   deviate from the model instructions’ language. Counsel should refer to the filing instructions in

 9   Local Rule CR 51(h) for further instruction on Joint Instructions and Joint Statements of

10   Disputed Instructions.

11           2.      Trial exhibits. The Court must receive all trial exhibits by the date noted above.

12    All trial exhibits must be pre-marked by counsel. Exhibit tags can be obtained from the Clerk’s

13   Office. Plaintiff’s exhibits shall be numbered consecutively starting with number 1.

14   Defendant’s exhibits shall be numbered consecutively starting with number A-1. Duplicated

15   documents shall not be listed twice on the exhibit list. Once a party has identified an exhibit

16   on the exhibit list or in the pretrial order, any party may use it. Each set of exhibits shall

17   be submitted in a three-ring binder with appropriately numbered tabs. This original, and

18   one copy, should be delivered to the in-court clerk on the morning of trial. If the exhibit list

19   is revised at any time after it is filed with the Court, counsel shall file a revised exhibit list.

20   Technology training is strongly encouraged.

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     ORDER SETTING TRIAL DATE AND PRETRIAL
     SCHEDULE - 3
            Case 2:20-cv-01182-JCC-JRC Document 17 Filed 09/25/20 Page 4 of 4




 1                                                Discovery

 2          As required by LCR 37(a), all discovery matters are to be resolved by agreement if

 3   possible. Counsel shall also cooperate in preparing the agreed pretrial order in the format

 4   required by LCR 16.1.

 5                                               Settlement

 6          The Court designates this case for mediation under LCR 39.1(c) and the parties are

 7   directed to follow through with the procedures set forth in that rule. If this case settles,

 8   plaintiff’s counsel shall notify Judge Coughenour’s courtroom deputy as soon as possible by

 9   calling (206) 370-8805 or by emailing gabriel_traber@wawd.uscourts.gov. Pursuant to

10   LCR11(b), an attorney who fails to give the Deputy Clerk prompt notice of settlement may be

11   subject to such discipline as the Court deems appropriate.

12          The Clerk is directed to send copies of this Order to all parties of record.

13          Dated this 25th day of September, 2020.

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16                                                          A
                                                            J. Richard Creatura
17
                                                            United States Magistrate Judge
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     ORDER SETTING TRIAL DATE AND PRETRIAL
     SCHEDULE - 4
